         Case 2:23-cr-00197-JS-AYS Document 99 Filed 08/13/24 Page 1 of 7 PageID #: 2016
Criminal Proceeding Minute Entry (rev. 5/24 (elr))                                                                                 Page 1 of 7


                                                UNITED STATES DISTRICT COURT
                                                       Eastern District of New York
           UNITED STATES OF AMERICA                                     Presiding Judge: ______________________________________
                                                                                         Joanna Seybert, Senior U.S.D.J.
                        -v-                                             Case No(s).:     ______________________________________
                                                                                         23-cr-0197-JS-AYS
      ______________________________________
            George Anthony Devolder Santos                              Date:            ____________
                                                                                         8/13/2024
                                                                        Start Time:      ____________
                                                                                         10:50 AM     Total Time: _______________
                                                                                                                  35 mins.

                                               MINUTE ENTRY FOR A CRIMINAL PROCEEDING

                                                     SEALED PROCEEDING: ☐ Yes ☐
                                                                              ✔No

I. APPEARANCES:

Defendant (# ____
              1 ): ________________________________________
                   George Anthony Devolder Santos                       Counsel: ___________________________________________________
                                                                                 Joseph Murray, Andrew Mancilla, Robert Fantone, Jr.
☐
✔Present ☐ Not Present ☐ In Custody ☐
                                    ✔On Bond ☐ Surrendered              ☐
                                                                        ✔Retained ☐ Federal Defender ☐ CJA ☐ _______________________

Defendant (# ____ ): ________________________________________           Counsel: ___________________________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered            ☐ Retained ☐ Federal Defender ☐ CJA ☐ _______________________

Defendant (# ____ ): ________________________________________           Counsel: ___________________________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered            ☐ Retained ☐ Federal Defender ☐ CJA ☐ _______________________

Defendant (# ____ ): ________________________________________           Counsel: ___________________________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered            ☐ Retained ☐ Federal Defender ☐ CJA ☐ _______________________

Defendant (# ____ ): ________________________________________           Counsel: ___________________________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered            ☐ Retained ☐ Federal Defender ☐ CJA ☐ _______________________

Defendant (# ____ ): ________________________________________           Counsel: ___________________________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered            ☐ Retained ☐ Federal Defender ☐ CJA ☐ _______________________

Defendant (# ____ ): ________________________________________           Counsel: ___________________________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered            ☐ Retained ☐ Federal Defender ☐ CJA ☐ _______________________

Defendant (# ____ ): ________________________________________           Counsel: ___________________________________________________
☐ Present ☐ Not Present ☐ In Custody ☐ On Bond ☐ Surrendered            ☐ Retained ☐ Federal Defender ☐ CJA ☐ _______________________

Government:           _________________________________________
                      Ryan Harris, Anthony Bagnuola, Laura Zuckerwise   Interpreter(s):     ___________________________________________
                      _________________________________________
                      Jacob Steiner, John Taddei                        Language:           ____________________
Pretrial Services:    _________________________________________         Court Reporter(s): ___________________________________________
                                                                                           Lisa Schmid
Probation Dept.:      _________________________________________                             ___________________________________________
Other Appearances: _________________________________________            FTR Time(s):        ___________________________________________
                      _________________________________________         Courtroom Deputy: ___________________________________________
                                                                                          Eric L. Russo
                      _________________________________________

II. PROCEEDINGS HELD:

☐
✔In-Person                 ☐
                           ✔Arraignment (see pg. 2)              ☐ Fatico Hearing (see pg. 3)        ☐
                                                                                                     ✔Motion Hearing (see pg. 3)
☐ By Telephone             ☐ Bond Hearing (see pg. 5)            ☐ Initial Appearance (see pg. 2)    ☐ Plea Hearing (see pg. 4)
☐ By Video                 ☐ Curcio Hearing (see pg. 2)          ☐ Jury Deliberations (see pg. 3)    ☐ Sentencing/Re-Sentencing (see pg. 4)
                           ☐ Detention Hearing (see pg. 5)       ☐ Jury Selection (see pg. 3)        ☐
                                                                                                     ✔Status/Pre-Trial Conference (see pg. 2)
                           ☐ Evidentiary Hearing (see pg. 3)     ☐ Jury Trial (see pg. 3)

☐ Other Proceeding: ________________________________________
         Case 2:23-cr-00197-JS-AYS Document 99 Filed 08/13/24 Page 2 of 7 PageID #: 2017
Criminal Proceeding Minute Entry (rev. 5/24 (elr))                                                                                     Page 2 of 7


III. SUMMARY OF THE PROCEEDINGS:

☐
✔Arraignment held as to the charge(s) outlined in the ___________________________________________________________________________.
                                                      Second Superseding Indictment (S-2) filed on 5/28/2024
  ☐ This was an initial appearance before this Court by Defendant ________.
  ☐ Defendant ________ waived Indictment.
      ☐ Waiver of Indictment executed by Defendant ________.
  ☐
  ✔ Defendant ________
                   1      waived the public reading of the charging instrument.
  ☐ Defendant ________ was advised of, and acknowledged, the charges outlined in the charging instrument.
  ☐
  ✔ The Government was advised of, and acknowledged, its obligation under F.R.Cr.P. Rule 5(f) and the Due Process Protections Act.
      ☐
      ✔A written order will be entered fully describing this obligation and the possible consequences of failing to meet it.
  ☐ Defendant ________
  ✔                1      entered a plea of NOT GUILTY as to all counts of the charging instrument.
  ☐ Defendant ________ consented to the exclusion of Speedy Trial time from __________ to __________ pursuant to Title 18, United States
  Code, Section 3161                                                                                                      .
  ☐ Defendant ________ did not consent to the exclusion of Speedy Trial time.
      ☐ The Court ordered the exclusion of Speedy Trial time from __________ to __________ pursuant to Title 18, United States Code,
      Section 3161                                                                                                    .
  ☐ The Court deemed this case COMPLEX and Speedy Trial time was excluded pursuant to Title 18, United States Code,
  Section 3161(h)(7)(B)(ii).
  ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.

☐ Curcio Hearing held as to Defendant ________.
   ☐ Attorney _________________________ (☐ Federal Defender; ☐ CJA) was appointed to represent the defendant for purposes of this hearing.
   ☐ The parties presented their oral arguments to the Court.
   ☐ The defendant was informed of the potential dangers arising from any conflicts of interest with current defense counsel.
   ☐ The defendant acknowledged and waived any potential conflicts of interest and wishes to proceed with current defense counsel.
   ☐ The defendant requested that current counsel be relieved and:
       ☐ that the defendant will retain new counsel.
          ☐ The defendant must retain new counsel by __________; or within ____________________ of this hearing.
      ☐ that the Court appoint new counsel.
          ☐ The defendant completed and filed the CJA 23 Financial Affidavit for the Court’s review.
   ☐ The Court’s decision: ☐ was entered on the record; ☐ will be entered under a separate order; ☐ was RESERVED.
   ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.

☐
✔Status Conference/Pre-Trial Conference held as to ____________________________________________________________________________.
                                                    the charges outlined in the Second Superseding Indictment (S-2) filed on 5/28/2024
  ☐ This was an initial appearance before this Court by Defendant ________.
  ☐
  ✔The parties advised the Court of the status of the case.
  ☐ Defendant ________ consented to the exclusion of Speedy Trial time from __________ to __________ pursuant to Title 18, United States
  Code, Section 3161                                                                                                     .
  ☐ Defendant ________ did not consent to the exclusion of Speedy Trial time.
      ☐ The Court ordered the exclusion of Speedy Trial time from __________ to __________ pursuant to Title 18, United States Code,
      Section 3161                                                                                                    .
  ☐ The Court deemed this case COMPLEX and Speedy Trial time was excluded pursuant to Title 18, United States Code,
  Section 3161(h)(7)(B)(ii).
  ☐
  ✔The Court deemed this case TRIAL READY.
      ☐ The Court set the following pre-trial submission schedule:
          ☐ All 3500 material and 404(b) evidence:                             due by: __________.
          ☐ Motion(s) in Limine and all supporting papers:                     due by: __________.
          ☐ Opposition(s) to Motions in Limine and all supporting papers: due by: __________.
          ☐ Reply(ies) to Motions in Limine and all supporting papers:         due by: __________.
          ☐ Proposed Voir Dire questions and case summary:                     due by: __________.
          ☐ Proposed exhibit and witness list:                                 due by: __________.
          ☐ Proposed Jury Charge and Verdict Sheet:                            due by: __________.
          ☐ The Court WILL NOT grant any extensions of the deadlines set forth above.
          ☐ The parties are directed to submit courtesy copies of their submissions in accordance with the Court’s Individual Rules. See Rule IV.
      ☐ The parties were directed to file a proposed pre-trial submission schedule on or before __________.
      ☐ The Court will enter a separate order outlining the pre-trial submission schedule.
  ☐
  ✔See Section VI and/or Section VII (page 7) for additional details and/or rulings.
         Case 2:23-cr-00197-JS-AYS Document 99 Filed 08/13/24 Page 3 of 7 PageID #: 2018
Criminal Proceeding Minute Entry (rev. 5/24 (elr))                                                                                    Page 3 of 7


☐
✔Evidentiary Hearing/Motion Hearing/Fatico Hearing held.
  ☐
  ✔Hearing held regarding defendant's
                            _______________________________________________________________________________________________.
                                         motions for partially anonymous jury and a written questionnaire (see DE 95)
  ☐ The parties presented their oral arguments to the Court.
  ☐ Witness(es) were called for the: ☐ Government; ☐ defendant(s).
  ☐ Exhibits were entered into evidence.
  ☐ The following briefing schedule was set:
     ☐ ____________ shall serve the motion and all supporting papers:                             due by: __________.
     ☐ ____________ shall serve the opposition to the motion and all supporting papers:           due by: __________.
     ☐ ____________ shall serve the cross-motion and all supporting papers:                       due by: __________.
     ☐ ____________ shall serve the reply and all supporting papers:                              due by: __________.
     ☐ ____________ shall serve the opposition to the cross motion and all supporting papers: due by: __________.
     ☐ ____________ shall serve the reply to the cross motion and all supporting papers:          due by: __________.
     ☐ The Court WILL NOT grant any extensions of the deadlines set forth above.
     ☐ The parties are directed to submit courtesy copies of their motion papers in accordance with the Court’s Individual Rules. See Rule IV.
  ☐ The parties were directed to file a proposed briefing schedule on or before __________.
  ☐ The Court will enter a separate order outlining the briefing schedule.
  ☐
  ✔The Court made the following ruling(s):
     ☐
     ✔GRANTED as to:                   _______________________________________________________________________________________.
                                       defendant's motions for partially anonymous jury
     ☐
     ✔DENIED as to:                    _______________________________________________________________________________________.
                                       defendant's motions for a written questionnaire
     ☐ GRANTED, in part, as to: _______________________________________________________________________________________.
     ☐ Decision RESERVED as to: _______________________________________________________________________________________.
  ☐
  ✔The Court’s decision: ☐ ✔was entered on the record; ☐ will be entered under a separate order.
  ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.

☐ Jury Selection (Voir Dire) held.
   ☐ The prospective jurors were sworn and given preliminary instructions by the Court.
   ☐ The prospective jurors were asked questions touching upon their qualifications to serve as jurors.
   ☐ A jury of ____, with ____ alternates, were selected and are satisfactory to all parties.
       ☐ The Court ordered the jury to be: ☐ anonymous; ☐ sequestered; ☐ semi-sequestered.
   ☐ The selected jurors were sworn as trial jurors.
   ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.

☐ Jury Trial held.
   ☐ A jury of ____, with ____ alternates, were previously selected by _____________________________ and are satisfactory to all parties.
   ☐ The selected jurors were sworn as trial jurors.
   ☐ The jurors were given preliminary instructions by the Court.
   ☐ Opening statements were heard from the: ☐ Government; ☐ Defense Counsel.
   ☐ Witness(es) were called for the: ☐ Government; ☐ defendant(s).
   ☐ Exhibit(s) were entered into evidence.
   ☐ The Government rested its case.
   ☐ The defense rested its case.
   ☐ A Charge Conference was held with the Court and counsel.
   ☐ Summations were heard from the: ☐ Government; ☐ Defense Counsel; ☐ Government (Rebuttal).
   ☐ The Court charged the jury.
   ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.

☐ Jury Deliberations held.
    ☐ The U.S. Marshal/Court Security Officer was sworn to monitor the jurors during deliberations.
    ☐ Jury Notes were received and marked as Court Exhibits.
    ☐ The Court instructed the jury to continue their deliberations pursuant to Allen v. United States (Allen Charge).
    ☐ The jury rendered the following verdict:
       ☐ _____________ on Count(s): ____________________ as to Defendant ________.
       ☐ _____________ on Count(s): ____________________ as to Defendant ________.
       ☐ _____________ on Count(s): ____________________ as to Defendant ________.
       ☐ _____________ on Count(s): ____________________ as to Defendant ________.
    ☐ The jurors were polled as to their verdict.
    ☐ The Verdict Sheet was received and marked as a Court Exhibit.
Jury Deliberations continued on next page.
         Case 2:23-cr-00197-JS-AYS Document 99 Filed 08/13/24 Page 4 of 7 PageID #: 2019
Criminal Proceeding Minute Entry (rev. 5/24 (elr))                                                                                        Page 4 of 7

Jury Deliberations continued from previous page.
    ☐ The Court charged the jury on the forfeiture allegation count(s) and instructed them to continue their deliberations.
       ☐ Jury Notes were received and marked as Court Exhibits.
       ☐ The jury rendered their verdict regarding the forfeiture allegation count(s).
       ☐ The jurors were polled as to their verdict.
       ☐ The Special Verdict Sheet was received and marked as a Court Exhibit.
    ☐ The jurors, including alternates, were excused with the thanks of the Court.
    ☐ The Conviction Notification Form was executed and sent to the U.S. Probation Department.
    ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.

☐ Plea Hearing held as to count(s) __________ of the __________-count ___________________________________________________________.
   ☐ The defendant was advised of, and acknowledged, the constitutional rights that will be waived when entering a plea of guilty.
   ☐ The defendant withdrew previously entered not guilty plea and entered a plea of GUILTY to the above referenced count(s).
   ☐ Court found that the there is a factual basis for the guilty plea and ACCEPTED the defendant’s plea of guilty.
   ☐ An Order of Forfeiture was executed.
   ☐ The Court ordered the U.S. Probation Department to prepare and submit an EXPEDITED Presentence Investigation Report.
   ☐ The parties consented to hold the preparation of the Presentence Investigation Report in ABEYANCE.
   ☐ The Conviction Notification Form was executed and sent to the U.S. Probation Department.
   ☐ The parties WAIVED the preparation of the Presentence Investigation Report.
   ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.

☐ Sentencing/Re-Sentencing held as to count(s) __________ of the __________-count _________________________________________________.
   ☐ The parties advised the Court that there are no objections or corrections to the Presentence Investigation Report.
   ☐ Objections/Corrections to the Presentence Investigation Report were outlined on the record by: ☐ the Government; ☐ Defense Counsel.
   ☐ The Court adopted the Presentence Investigation Report without change.
   ☐ Changes to the Presentence Investigation Report were outlined on the record by the Court.
   ☐ Oral presentations to the Court were made by: ☐ Defense Counsel; ☐ the defendant; ☐ the Government; ☐ the victim(s); ☐ _____________.
   ☐ The defendant was sentenced to IMPRISONMENT for a total term of _________________________________________________________.
       ☐ Upon release, the defendant shall be on SUPERVISED RELEASE for a total term of _________________________.
          ☐ The defendant shall comply with the mandatory and standard conditions of supervision.
               ☐ One or more of the mandatory/standard conditions of supervision were not ordered or were amended by the Court.
          ☐ The defendant shall comply with the special conditions of supervision ordered by the Court.
       ☐ The Court did not impose a term of Supervised Release.
   ☐ The defendant was sentenced to PROBATION for a total term of _________________________.
       ☐ The defendant shall comply with the mandatory and standard conditions of supervision.
          ☐ One or more of the mandatory/standard conditions of supervision were not ordered or were amended by the Court.
       ☐ The defendant shall comply with the special conditions of supervision ordered by the Court.
   ☐ The defendant must pay the following criminal monetary penalties:
       ☐ RESTITUTION in the amount of:                          $ ________________; (☐ An Order of Restitution was executed.)
       ☐ A FINE in the amount of:                               $ ________________.
       ☐ A SPECIAL ASSESSMENT fine in the amount of: $ ________________.
       ☐ An AVAA ASSESSMENT fine in the amount of: $ ________________.
       ☐ A JVTA ASSESSMENT fine in the amount of:               $ ________________.
   ☐ The interest requirement on any of the criminal monetary penalties:
       ☐ was ordered on the amounts of more than $2,500.00.
       ☐ was modified by the Court.
       ☐ was waived/not ordered/not applicable.
   ☐ Restitution: ☐ was not ordered or not applicable; ☐ was paid in full prior to sentencing.
   ☐ A fine and/or other assessment: ☐ was not ordered or not applicable; ☐ was paid in full prior to sentencing.
   ☐ The determination of Restitution and/or a fine was deferred pending further proceedings or by further motion to the Court.
   ☐ All other conditions shall remain in effect as previously ordered and outlined in the judgment dated __________.
   ☐ The Order of Forfeiture dated __________ was adopted as the Final Order of Forfeiture and will be included as part of the judgment.
   ☐ A Final Order of Forfeiture was executed and will be included as part of the judgment.
   ☐ The defendant’s right to appeal the Court’s sentence:
       ☐ was waived (pursuant to the Plea/Cooperation Agreement, or as stated on the record).
       ☐ was preserved. The defendant has the right to file an appeal within fourteen (14) days of the date that the judgment is entered, not filed.
   ☐ All open counts in the charging instrument(s) were dismissed on the motion of the United States.
   ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.
         Case 2:23-cr-00197-JS-AYS Document 99 Filed 08/13/24 Page 5 of 7 PageID #: 2020
Criminal Proceeding Minute Entry (rev. 5/24 (elr))                                                                                      Page 5 of 7


IV. RULINGS MADE REGARDING DEFENDANT RELEASE STATUS:

☐ Bond Hearing/Detention Hearing held.
   ☐ Defendant ________ did not present a bond application to the Court.
      ☐ An Order of Detention was executed as to Defendant ________.
      ☐ An Order Scheduling a Detention Hearing was executed as to Defendant ________.
   ☐ The bond application/modification was GRANTED as to Defendant ________.
      ☐ An Order Setting Conditions of Release and Bond was executed as to Defendant ________.
      ☐ The conditions of release were modified as to Defendant ________, as stated on the record.
      ☐ An amended Order Setting Conditions of Release and Bond was executed as to Defendant ________.
   ☐ The bond application/modification was DENIED as to Defendant ________.
      ☐ An Order of Detention was executed as to Defendant ________.
   ☐ The Government moved for immediate detention of Defendant ________.
      ☐ The motion was: ☐ GRANTED; ☐ DENIED; ☐ GRANTED, in part.
      ☐ An Arrest Warrant was executed as to Defendant ________.
      ☐ An Order of Detention was executed as to Defendant ________.
      ☐ The conditions of release were modified as to Defendant ________, as stated on the record.
      ☐ An amended Order Setting Conditions of Release and Bond was executed as to Defendant ________.
   ☐ The decision regarding the bond or detention application was RESERVED.
      ☐ An Order Scheduling a Detention Hearing was executed as to Defendant ________.
      ☐ A temporary Order Setting Conditions of Release and Bond was executed as to Defendant ________.
   ☐ See Section VI and/or Section VII (page 7) for additional details and/or rulings.

For a defendant currently IN-CUSTODY:

    ☐ Defendant ________ remain(s) in custody.

    ☐ The following orders were executed and shall be forwarded to the U.S. Marshals Service and/or the Federal Bureau of Prisons:
       ☐ A Medical Evaluation Order as to Defendant ________.
       ☐ A Competency Order as to Defendant ________.
       ☐ A Force Order as to Defendant ________.

    ☐ The defendant, being sentenced to TIME SERVED (time in-custody prior to sentencing/re-sentencing), shall be RELEASED, FORTHWITH.
       ☐ A Time Served Order was executed and submitted to the U.S. Marshals Service.
       ☐ The defendant will be under supervision of the U.S. Probation Department until the completion of the ordered term of Supervised Release.
       ☐ The defendant will not serve a term of Supervised Release.

For a defendant currently AT LIBERTY:

    ☐
    ✔Defendant ________
                  1     remain(s) on bond.

    ☐ The defendant, being sentenced to a TERM OF IMPRISONMENT, shall be IMMEDIATELY REMANDED to the custody of the U.S.
    Marshals Service and/or the Federal Bureau of Prisons.

    ☐ The defendant, being sentenced to a TERM OF IMPRISONMENT, shall surrender for the service of the sentence before 2:00 PM on        at
    the institution designated by the Federal Bureau of Prisons. The defendant will REMAIN AT LIBERTY and under supervision of the Pretrial
    Services Department until the ordered surrender date.
        ☐ The U.S. Marshals Voluntary Surrender form was executed.
        ☐ Any motion to extend the surrender date must be made at least a thirty (30) days prior to the ordered surrender date.
        ☐ The defendant was advised that there will be no extensions of the surrender date.

    ☐ The defendant, being sentenced to a TERM OF PROBATION, will REMAIN AT LIBERTY and under supervision of the U.S. Probation
    Department until the completion of the ordered term of Probation.

    ☐ The defendant, being sentenced to TIME SERVED (time in-custody prior to being released), shall REMAIN AT LIBERTY and under
    supervision of the U.S. Probation Department until the completion of the ordered term of Supervised Release.

    ☐ The defendant, being sentenced to TIME SERVED (time in-custody prior to being released as well as time under supervision), shall be released
    from all conditions of supervision, forthwith.
         Case 2:23-cr-00197-JS-AYS Document 99 Filed 08/13/24 Page 6 of 7 PageID #: 2021
Criminal Proceeding Minute Entry (rev. 5/24 (elr))                                                                                            Page 6 of 7


V. FURTHER PROCEEDINGS SET:

☐ No further proceedings have been set at this time.

☐ Bond Hearing:                     For Defendant ______ set for _________ at _________ before ________________________________; _____________________.

☐ Curcio Hearing:                   For Defendant ______ set for _________ at _________ before ________________________________; _____________________.

☐ Detention Hearing:                For Defendant ______ set for _________ at _________ before ________________________________; _____________________.

☐ Evidentiary Hearing:              For Defendant ______ set for _________ at _________ before ________________________________; _____________________.

☐ Fatico Hearing:                   For Defendant ______ set for _________ at _________ before ________________________________; _____________________.

☐
✔Jury Selection:                    For Defendant ______
                                                    1    set for _________
                                                                  9/9/2024 at _________
                                                                               9:30 AM before ________________________________;
                                                                                              Judge Joanna Seybert              _____________________.
                                                                                                                                In Courtroom 287

☐ Jury Trial:                       For Defendant ______ set for _________ at _________ before ________________________________; _____________________.

☐ Motion Hearing:                   For Defendant ______ set for _________ at _________ before ________________________________; _____________________.

☐ Plea Hearing:                     For Defendant ______ set for _________ at _________ before ________________________________; _____________________.

☐ Pre-Trial Conference:             For Defendant ______ set for _________ at _________ before ________________________________; _____________________.

☐ Status Conference:                For Defendant ______ set for _________ at _________ before ________________________________; _____________________.

☐ Sentencing/Re-Sentencing: For Defendant ______ set for _________ at _________ before ________________________________; _____________________.
   Filing of Sentencing Memoranda in accordance with the Court’s Individual Rules (see Rule VII(D)(2)):
   ☐ The Government’s sentencing memoranda: due by: __________.
   ☐ The defendant’s sentencing memoranda:         due by: __________.
   ☐ The parties are directed to submit courtesy copies of their submissions in accordance with the Court’s Individual Rules (see Rule IV). If a party
   chooses to proceed without filing a sentencing memorandum, a letter to the Court advising as such must be filed by the due date set forth above, in
   lieu of their memorandum.
               PARTIES ARE ON NOTICE: 1) Once sentencing memoranda are filed, further sentencing submissions will not be accepted
         without prior, written, Court approval; and 2) If the Court does not receive any sentencing related filings by the due date set forth
         above, it may, sua sponte, adjourn sentencing to a date and time of its convenience.
   ☐ All sentencing memorandums have been filed. Further sentencing submissions will not be accepted without prior, written, Court approval.
   ☐ The Government waived the filing of a sentencing memorandum and/or reserved the right to make an oral presentation at sentencing.
   ☐ Defense counsel waived the filing of a sentencing memorandum and/or reserved the right to make an oral presentation at sentencing.

☐ The Court ordered the proceeding(s) above to be held via the Court’s teleconferencing system. Parties are directed to dial the following telephone
number at the designated time: 877-336-1839, access code 7231185.

☐ The Court ordered the proceeding(s) above to be held by video, via ZoomGov. The parties on the case will be sent a separate notice by the Courtroom
Deputy with instructions on how to log into the video meeting as the scheduled date approaches.

☐
✔Further instructions regarding the proceeding(s) set:
  - The parties were advised to report to Courtroom 1030 at 10:30 AM on the day of jury selection.
         Case 2:23-cr-00197-JS-AYS Document 99 Filed 08/13/24 Page 7 of 7 PageID #: 2022
Criminal Proceeding Minute Entry (rev. 5/24 (elr))                                                                                        Page 7 of 7


VI. OTHER RULINGS MADE DURING THE PROCEEDINGS:

☐ The record of this proceeding was deemed SEALED. Transcripts of this proceeding can be made available to the Court, the defendant(s), defense
counsel, and the Government ONLY. Any other non-party must file a written request to the Court for permission to receive a copy of the transcripts.

☐ The Court made the following rulings:




VII. ADDITIONAL RULINGS:

☐ The Court makes the following additional rulings (not addressed during the proceedings):
